
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-04-145-CV

WILLIAM RICKIE GRIFFIN 	APPELLANT



V.



THE TEXAS DEPARTMENT OF &nbsp;&nbsp;	APPELLEE

PUBLIC SAFETY



----------

FROM COUNTY 
COURT AT LAW NO. 3 OF TARRANT COUNTY

----------

MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

----------

On September 9, 2004, we notified appellant that his brief had not been filed as required by rule 
38.6(a). &nbsp;
See
 
Tex. R. App. P
. 38.6(a). &nbsp;We stated we would dismiss the appeal for want of prosecution unless appellant or any party desiring to continue this appeal filed with the court within ten days a response showing grounds for continuing the appeal. &nbsp;We have not received any response.

Because appellant’s brief has not been filed, we dismiss the appeal for want of prosecution. &nbsp;
See
 T
EX
. R. A
PP
. P. 38.8(a)(1), 42.3(b).

Appellant shall pay all costs of this 
appeal, for which let execution issue.



PER CURIAM 		





PANEL D:	DAUPHINOT, HOLMAN, and GARDNER, JJ.



DELIVERED: October 21, 2004

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




